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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                           Case No. 2:06-cr-02-02

TADD KEITH GRAVELLE,                                         HON. GORDON J. QUIST

            Defendant.
_________________________________/


                                   ORDER OF DETENTION


               Defendant Gravelle appeared before the undersigned on April 20, 2006, for

purposes of an initial appearance and arraignment. At that time, the court was advised that the

defendant was incarcerated with the State of Michigan and appearing on a Writ of Habeas

Corpus. The court advised defendant that a detention hearing would not be held at this time;

however, defendant reserved the right to request a hearing at a later date if he became eligible for

release from the State of Michigan. Accordingly, defendant will be detained pending further

proceedings.

               Therefore, IT IS HEREBY ORDERED that the defendant shall be committed to

the custody of the Attorney General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from persons awaiting or serving sentences

or being held in custody pending appeal. The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel. On order of a court of the United

States or on request of an attorney for the government, the person in charge of the corrections
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facility shall deliver the defendant to the United States Marshal for the purpose of an appearance

in connection with a court proceeding.

               IT IS SO ORDERED.

                                             /s/ Timothy P. Greeley
                                             TIMOTHY P. GREELEY
                                             UNITED STATES MAGISTRATE JUDGE

Dated: April 24, 2006
